Case 5:05-cv-00102-RHB         ECF No. 31, PageID.558         Filed 02/08/06     Page 1 of 21




                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


ROBERT PICHEY, et al.,

              Plaintiff,                           FILE NO. 5:05-CV-102

v.                                                 HON. ROBERT HOLMES BELL

AMERITECH INTERACTIVE
MEDIA SERVICES, INC., et al.,

           Defendants.
_____________________________/

                                         OPINION

       This is a breach of contract action originally filed in the Circuit Court for Ingham

County, Michigan. The action was removed to this Court on July 8, 2005, after the filing of

the second-amended complaint. On September 6, 2005, Defendant Ameritech Interactive

Media Services, Inc. ("AIMS") and Defendant Ameritech Interactive Media, Inc. ("AIM")

both filed motions for summary judgment (docket ##11, 13). For the reasons that follow,

Defendants' motions for summary judgment are granted.

                                              I.

       In approximately January 1998, Plaintiffs Robert Pichey and Patricia Pichey began

doing business as Victorian Gallery, a specialty furniture retailer.    According to Patricia

Pichey, while Plaintiffs did a small amount of local business, they intended that most of their

sales would be generated through internet advertising and internet contact with their

customers and prospective customers.          Plaintiffs spoke several times with Shawn
Case 5:05-cv-00102-RHB         ECF No. 31, PageID.559         Filed 02/08/06     Page 2 of 21




McCracken, an interactive media specialist representing both AIMS and AIM. On or about

February 19, 1998, Patricia Pichey, as owner of Victorian Gallery, entered into certain

agreements with AIMS and AIM for the provision of internet advertising services relating

to the design, registration and hosting of a custom internet web site. A total of three

agreements were signed, two with AIMS and one with AIM. One contract with AIMS

(AIMS Sales Agreement No. 002451) was for the domain name registration fee, to be

provided at a cost of $250, for which Victorian Gallery was to receive $150 credit toward the

price of the custom web site development. The second contract with AIMS (AIMS Sales

Agreement No. 007203) was for a fee text advertisement and a standard link. The contract

stated that the cost for the services was included at no extra charge in the cost of the custom

site design purchased in Contract No. 000033. The third contract was with AIM (AIM Sales

Agreement No. 000033). That agreement stated that AIM would provide a custom web site.

In the special instructions, the AIM agreement referenced both of the AIMS contract

numbers and showed a total charge of $1,350 for the AIM services, which reflected a credit

of $150 on the domain name registration agreement with AIMS.

       Plaintiffs allege that the promotional materials they received from Ameritech

Interactive Media made no distinctions between AIMS and AIM and that they believed they

were contracting with a single entity, "Ameritech." In those promotional materials, the

purchase of a custom web site included the following items: (1) virtual hosting; (2)

registration on major Internet search engines; (3) a link from the purchaser's business listing



                                              2
Case 5:05-cv-00102-RHB         ECF No. 31, PageID.560          Filed 02/08/06     Page 3 of 21




in the Ameritech Internet Yellow Pages; (4) a web site symbol in the purchaser's business

listing in the Ameritech Internet Yellow Pages; (5) quarterly detailed traffic reports on the

number of visitors to the purchaser's site; and (6) full-service web site development. On

another promotional page, "Ameritech" promised that any web site would include the

following: (1) a home page; (2) a page detailing products or services; (3) a unique e-mail

address and e-mail services; (4) a customer feedback form; (5) virtual hosting; (6)

registration on major Internet search engines; (7) a link from the customer's Ameritech

Internet Yellow Pages business listing; (8) a web site symbol next to the internet yellow

pages listing; and (9) quarterly detailed traffic reports on the number of visitors to the site.

       Plaintiffs allege that in late 1999, they were informed by their wholesale supplier that

the supplier was concerned about the lack of sales on the part of Victorian Gallery and that

the supplier had been unable to locate the Victorian Gallery web page, despite searching on

major Internet search engines. On or about April 20, 2000, Patricia Pichey had a telephone

conversation with Monica Watson of AIM. Watson purportedly admitted that the Victorian

Gallery web site had never been registered with the major search engines. In a memorandum

memorializing the conversation, Watson agreed that certain changes would be made to the

web site, including the addition of a map, and that five specific site-related key words would

be submitted to five major Internet search engines: Lycos, Alta Vista, Excite, Infoseek, and

Yahoo. In addition, on May 3, 2000, Watson confirmed that, pursuant to her conversation

with Patricia Pichey, the hosting account for victoriangallery.com would be extended for 18

months, or until November 1, 2001.

                                               3
Case 5:05-cv-00102-RHB         ECF No. 31, PageID.561         Filed 02/08/06     Page 4 of 21




       Notwithstanding these representations, Plaintiffs contend that neither AIMS nor AIM

registered the Victorian Gallery web site with any major Internet search engine. As a

consequence of the failure to register, Plaintiffs allege damages exceeding $3,000,000 in the

form of lost opportunity and exposure, out-of-pocket expenses, and lost profits.

                                              II.

       On a motion for summary judgment, a court must consider all pleadings, depositions,

affidavits and admissions and draw all justifiable inferences in favor of the party opposing

the motion. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587

(1986). The court, however, "'need not accept as true legal conclusions or unwarranted

factual inferences.'" Michigan Paytel Joint Venture v. City of Detroit, 287 F.3d 527, 533 (6th

Cir. 2002) (quoting Morgan v. Church's Fried Chicken, 829 F.2d 10, 12 (6th Cir. 1987)).

The party moving for summary judgment has the burden of pointing the court to the absence

of evidence in support of some essential element of the opponent's case. Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986); Street v. J.C. Bradford & Co., 886 F.2d 1472, 1479 (6th

Cir. 1989).   Once the moving party has made such a showing, the burden is on the

nonmoving party to demonstrate the existence of a genuine issue for trial. Id. Summary

judgment is appropriate when the record reveals that there are no genuine issues as to any

material fact in dispute and the moving party is entitled to judgment as a matter of law. F ED.

R. C IV. P. 56(c); Kocak v. Community Health Partners of Ohio, Inc., 400 F.3d 466, 468 (6th

Cir. 2005).



                                              4
Case 5:05-cv-00102-RHB          ECF No. 31, PageID.562         Filed 02/08/06     Page 5 of 21




       In order to prove that a triable issue exists, the nonmoving party must do more than

rely upon allegations, but must come forward with specific facts in support of his or her

claim. Celotex, 477 U.S. at 322; Mulhall v. Ashcroft, 287 F.3d 543, 550 (6th Cir. 2002). A

party opposing a motion for summary judgment "may not merely recite the incantation,

'credibility,' and have a trial in the hope that a jury may believe factually uncontested proof."

Fogery v. MGM Holdings Corp., Inc., 379 F.3d 348, 353 (6th Cir. 2004). After reviewing

the whole record, the court must determine "whether the evidence presents a sufficient

disagreement to require submission to a jury or whether it is so one-sided that one party must

prevail as a matter of law." Booker v. Brown & Williamson Tobacco Co., Inc., 879 F.2d

1304, 1310 (6th Cir. 1989) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52

(1986)). "'[D]iscredited testimony is not [normally] considered a sufficient basis'" for

defeating the motion. Anderson, 477 U.S. at 256-57 (quoting Bose Corp. v. Consumers

Union of United States, Inc., 466 U.S. 485, 512 (1984)). In addition, where the factual

context makes a party's claim implausible, that party must come forward with more

persuasive evidence demonstrating a genuine issue for trial. Celotex, 477 U.S. at 323-24;

Matsushita, 475 U.S. at 586-87; Street, 886 F.2d at 1480. "A mere scintilla of evidence is

insufficient; 'there must be evidence on which a jury could reasonably find for the [non-

movant].'" Daniels v. Woodside, 396 F.3d 730, 734 (6th Cir. 2005) (quoting Anderson, 477

U.S. at 252).




                                               5
Case 5:05-cv-00102-RHB         ECF No. 31, PageID.563         Filed 02/08/06     Page 6 of 21




                                             III.

       In their separate motions for summary judgment, both Defendants argue that Plaintiffs'

claims for damages in the form of lost opportunities, out-of-pocket expenses and lost profits

are barred by the limited liability clause contained in the contracts signed by Plaintiffs. The

clauses appear, with other provisions, on the reverse of each of the sales agreements:

       AMERITECH'S LIABILITY. The amounts payable by Customer are not
       sufficient to warrant Ameritech assuming any risk of consequential, incidental
       or other special damages. From the nature of the services to be performed, it
       is impractical and extremely difficult to fix the actual damages which may
       result from the failure on the part of Ameritech to perform its obligations
       herein. UNLESS THE PARTIES NEGOTIATE A HIGHER LIMIT OF
       LIABILITY, IF AMERITECH SHOULD BE FOUND LIABLE FOR
       LOSS OR DAMAGE DUE TO A FAILURE ON THE PART OF
       AMERITECH REGARDLESS WHETHER THE CUSTOMER'S
       CLAIM IS BASED ON CONTRACT, TORT, STRICT LIABILITY OR
       OTHERWISE, THE LIABILITY SHALL BE LIMITED TO AN
       AMOUNT EQUAL TO THE CONTRACT PRICE OR [SIC] THE
       DISPUTED SERVICES, OR THAT SUM OF MONEY ACTUALLY
       PAID BY CUSTOM ER TOW ARD THE DISPUTED SERVICES,
       WHICHEVER SUM SHALL BE LESS, AS LIQUIDATED DAMAGES
       AND NOT AS A PENALTY, AND THIS LIABILITY SHALL BE
       EXCLUSIVE. IN NO EVENT SHALL AMERITECH BE LIABLE FOR
       ANY LOSS OF CUSTOMER'S BUSINESS, REVENUES, PROFITS,
       THE COST TO CUSTOMER OF THEIR ADVERTISEMENT OR ANY
       OTHER SPECIAL, INCIDENTAL, CONSEQUENTIAL OR PUNITIVE
       DAMAGES OF ANY NATURE, OR FOR ANY CLAIM AGAINST
       CUSTOMER BY ANY THIRD PARTY. ALL EXPRESS AND IMPLIED
       WARRANTIES REGARDING THE WEB SITE AND INTERNET
       SERVICES ARE DISCLAIMED, INCLUDING WARRANTIES OF
       MERCHANTABILITY AND FITNESS FOR A PARTICULAR
       PURPOSE. Ameritech shall not be liable for delays or interruption in
       production and/or presentation in the event of acts of God, by any government
       or quasi-governmental entity, fire, flood, insurrection, riot, explosion,
       embargo, strikes, labor or material shortage, transportation interruption of any
       kind, temporary interruption in internet services due to necessary repair or


                                              6
Case 5:05-cv-00102-RHB         ECF No. 31, PageID.564        Filed 02/08/06     Page 7 of 21




       adjustments, or any condition beyond the direct control of Ameritech.
       Customer acknowledges that Ameritech cannot guarantee any results of any
       sort whatsoever as a result of the web site or Internet Services.

(Ex. 1 to Compl. (emphasis and capitalization in original).) In addition, Defendant AIMS

contends that no genuine issue of fact exists that AIMS' contract with Plaintiffs included an

agreement to register Plaintiffs' web site. Because the Court finds that the limited liability

clause is enforceable, the Court need not address AIMS' remaining argument.

       Under Michigan law, "unambiguous contracts are not open to judicial construction

and must be enforced as written." Rory v. Continental Ins. Co., 703 N.W.2d 23, 30 (Mich.

2005) (emphasis in original). A court "has no authority to change the terms of a contract

simply because it might feel that it was an unwise contract for a party to have entered into.

See Mich. Assoc. of Psychotherapy Clinics v. Blue Cross, 301 N.W.2d 33, 40 (Mich. App.

1980). The courts expressly have recognized that a limitation of liability clause that limits

damages in case of breach is enforceable if the nature of the transaction makes damages

difficult to ascertain. See Ross v. Loescher, 116 N.W. 193 (Mich. 1908); St. Paul Fire and

Marine Ins. Co. v. Guardian Alarm Co., 320 N.W.2d 244 (Mich. App. 1982). Where a

contract provision is unambiguous, "[o]nly recognized traditional contract defenses may be

used to avoid the enforcement of the contraction provision." Rory, 703 N.W.2d at 31. Such

defenses include duress, waiver, estoppel, fraud and unconscionability. Id. at 31 n.23.

       Plaintiffs do not dispute that all three contracts they signed contained an identical

limited liability clause, which, if enforceable, would bar the specific forms of damages they



                                              7
Case 5:05-cv-00102-RHB         ECF No. 31, PageID.565         Filed 02/08/06     Page 8 of 21




presently seek. They contend, however, that the clauses are not enforceable because they are

unconscionable. They also contend that the clauses are not enforceable because they fail of

their essential purpose by depriving Plaintiffs of the substantial benefit of their bargain.

       A.     Unconscionability

       Under Michigan law, in order to invalidate a contract provision for unconscionability,

a party must demonstrate that the provision is both procedurally and substantively

unconscionable. See Allen v. Mich. Bell. Tel. Co., 171 N.W.2d 689, 692 (Mich. Ct. App.

1969); Northwest Acceptance Corp. v. Almont Gravel, Inc., 412 N.W.2d 719, 723 (Mich. Ct.

App. 1987). Before finding a provision to be unconscionable, a court must make two

inquiries:

       (1) What is the relative bargaining power of the parties, their relative economic
       strength, the alternative sources of supply, in a word, what are their options?;
       (2) Is the challenged term substantively reasonable?

Allen, 171 N.W.2d at 692. In other words, in order to show unconscionability, a party must

demonstrate "an absence of meaningful choice on the part of one of the parties together with

contract terms which are unreasonably favorable to the other party." Northwest Acceptance,

412 N.W .2d at 723. Although unconscionability is rarely found in a commercial context, see

U.S. Fibres v. Proctor & Schwartz, Inc., 509 F.2d 1043, 1048 (6th Cir. 1975), in limited

circumstances, the courts have found commercial contracts to be unconscionable, see

Northwest Acceptance Corp., 412 N.W.2d at 722; Allen, 171 N.W.2d at 694; Johnson v.

Mobil Oil Corp., 415 F. Supp. 264 (E.D. Mich. 1976).



                                              8
Case 5:05-cv-00102-RHB          ECF No. 31, PageID.566         Filed 02/08/06     Page 9 of 21




              1.      Procedural unconscionability

       A contract is procedurally unconscionable if a party, in agreeing to the contract, has

no realistic alternative to agreement. See Allen, 171 N.W.2d at 694. Courts have refused to

enforce agreements "where one party is at such obvious disadvantage in bargaining power

that the effect of the contract is to put him at the mercy of the other's negligence." Id. at 693

(internal citations omitted). However, "merely because the parties have different options or

bargaining power, unequal or wholly out of proportion to each other, does not mean that the

agreement of one of the parties to a term of contract will not be enforced against him; if the

term is substantively reasonable it will be enforced." Id. at 692.

       The Michigan Court of Appeals previously addressed a situation in which a limited

liability clause was included in a contract for yellow pages advertising with a defendant

telephone company. See Allen, 171 N.W.2d 689. In Allen, an insurance agent contracted to

place several advertisements in the Flint classified telephone directory. The clause in issue

limited liability for breach of contract to the amount paid for such advertising in the issue in

which the error occurred. The defendant telephone company subsequently failed to include

the advertisement in the yellow pages as it had promised in the contract. Id. at 690. The

plaintiff claimed that the telephone company, as a public utility, could not limit liability for

its own negligence. Id. at 691-92. The court concluded, however, that, in the circumstances

of the case, the telephone company was the only free yellow pages provider and had an

effective monopoly on the services. Id. at 693-94. The court also recognized that no



                                               9
Case 5:05-cv-00102-RHB        ECF No. 31, PageID.567         Filed 02/08/06     Page 10 of 21




different but comparably inexpensive advertising vehicle was available to the plaintiff. Id.

The court therefore found procedural unconscionability because the plaintiff had no practical

alternative but to sign the agreement. Id. The court went on to find that, because the clause

limited damages to the contract price in circumstances where the contract was wholly

unperformed, the clause effectively relieved the company of all liability and therefore was

substantively unreasonable. Id. at 694.

       Since it was issued, the Michigan courts have limited the scope of Allen. In St. Paul

Fire, 320 N.W.2d 244, the court considered a case in which a company contracted with a

provider of a burglar alarm system. The contract included a limited liability clause that fixed

damages for breach at the aggregate amount of six monthly payments or $250, whichever

was less. When plaintiff company was burglarized, its insurer sought damages from the

burglar alarm company. The St. Paul Fire court held that, in contrast to Allen, the plaintiff

company was not effectively forced to use a monopolistic burglar alarm supplier. In

addition, damages caused by failure of the system would have been difficult to ascertain,

given the variability of inventories. Further, even if such damages theoretically were

ascertainable through inventory monitoring, the court emphasized that the burglar system

provider was not an insurer. Id. at 247. On the basis of all of these factors, the court found

that the transaction was not procedurally unconscionable, notwithstanding differences in

bargaining power. Id.




                                              10
Case 5:05-cv-00102-RHB        ECF No. 31, PageID.568          Filed 02/08/06     Page 11 of 21




       Similarly, in Mich. Ass'n of Psychotherapy Clinics, 301 N.W.2d at 40, the court again

distinguished Allen, concluding that the reasoning of Allen stood for a limited proposition:

       [W]here goods or services used by a significant segment of the public can be
       obtained from only one source, or from limited sources on no more favorable
       terms, an unreasonable term in a contract for such goods or services will not
       be enforced as a matter of public policy.

Allen, 171 N.W.2d at 694, quoted in Mich. Ass'n of Psychotherapy Clinics, 301 N.W.2d at

40. The court in Mich. Ass'n of Psychotherapy Clinics noted that, while Blue Cross was a

major health insurer, it was not the only health insurer. Id. at 41. The plaintiff, therefore,

was not faced with a single monopolistic option faced by the plaintiff in Allen. See also

Clark v. DaimlerChrysler Corp., 706 N.W.2d 471 (M ich. Ct. App. 2005) (holding that a

limitation on the statute of limitations for all employee claims was not procedurally

unconscionable, notwithstanding the fact that the clause was included in an employee

application completed four months before the employee was hired); USAA Group v.

Universal Alarms, Inc., 405 N.W.2d 146, 147 (Mich. Ct. App. 1987) (rejecting claim that

individuals who contracted with alarm company were in a procedurally unconscionable

bargaining position, since other alarm systems, even if different in type, were available to the

plaintiffs); WXON-TV v. A.C. Nielsen Co., 740 F. Supp. 1261 (E.D. Mich. 1990) (holding

that a contract between a television station and a rating service was not procedurally

unconscionable because the company was not a monopolistic public service, despite the fact

that the rating service was one of only two such services, both of whom limited damages).




                                              11
Case 5:05-cv-00102-RHB        ECF No. 31, PageID.569         Filed 02/08/06    Page 12 of 21




       Plaintiffs argue that the case is more closely analogous to Johnson v. Mobil Oil Corp.,

415 F. Supp. 264 (E.D. Mich. 1976). In Johnson, plaintiff service station owner sued Mobil

Oil Corporation for providing adulterated gasoline that allegedly caused a fire which

destroyed the plaintiff's service station. Johnson's contract with M obil excluded "special,

indirect or consequential damages, and Mobil attempted to limit damages to "difference

money damages," the difference between the value of the goods at the time and place they

were accepted and the value they would have had if they had been warranted. The court

found the limited liability clause to be unconscionable, in part because the station owner had

completed only one-and-one-half years of high school and had limited business experience.

Plaintiffs argue that they were similarly uneducated. In contrast to Johnson, however, both

plaintiffs had graduated from high school and Patricia Pichey attended two years of college.

Both have run another business for a number of years. Plaintiffs were not in the same

position as Johnson.

       Plaintiffs next suggest that the contract provision was procedurally unconscionable

because they were presented with a standardized and preprinted contract containing the

limited liability clause on the reverse side of the document. However, the courts routinely

have rejected a finding of procedural unconscionability on the grounds that a plaintiff was

presented with a preprinted, form contract rather than engaging in a clause-by-clause

negotiation of an agreement. See Rory v. Continental Ins. Co., 703 N.W.2d 23, 42 (Mich.

2005) ("The term 'adhesion contract' may . . . be used to describe a contract for goods or



                                             12
Case 5:05-cv-00102-RHB        ECF No. 31, PageID.570         Filed 02/08/06    Page 13 of 21




services offered on a take-it-or-leave-it basis. But it may not be used as a justification for

creating any adverse presumptions or for failing to enforce a contract as written."); St. Paul

Fire, 320 N.W.2d at 247 ("The mere fact that a contract is standardized and preprinted does

not make it unenforceable as a contract of adhesion.").

       Moreover, in two unpublished decisions, courts have considered whether contracts

with Ameritech Publishing, Inc., another sister corporation to AIM and AIMS, were

unconscionable because they contained preprinted and nearly identical limited liability

clauses to those present in the instant case. See All Makes S-V, Inc. v. Ameritech Pub., Inc.,

No. 221188, 2001 WL 951381 (Mich. Ct. App. Aug. 21, 2001); Nolan, Inc. v. Ameritech

Pub., Inc., No. 89-CV-72028 (E.D. Mich. April 3, 1990). In both decisions, the courts

considered whether Ameritech's failure accurately to publish information in its yellow pages

could be subjected to a limited liability clause. The courts concluded that Allen was

inapplicable to the case because, at the time of those decisions, Ameritech no longer was a

monopolistic public utility or the sole provider of free yellow pages. Instead, because

telephone services had been deregulated, the plaintiff had other yellow page opportunities

available, as well as radio, television and print advertising. Accordingly, both courts found

that the limited liability clauses in issue were not procedurally unconscionable. All Makes

S-V, 2001 WL 951381, at *1-2; Nolan, No. 89-CV-72028, slip op. at 3-4.

       In the instant case, it is undisputed that the internet hosting and web design services

purchased by Plaintiffs from AIM and AIMS were available from many sources.



                                             13
Case 5:05-cv-00102-RHB        ECF No. 31, PageID.571         Filed 02/08/06    Page 14 of 21




Specifically, Defendant AIMS has provided copies of local telephone directories for the

period between 1997 and 2001, all of which demonstrate the availability of multiple internet

service providers and web design companies providing a wide range of services. (AIM S

Reply Br., Ex. 14.) They also have attached the affidavit of Beth Kinna, which declares on

personal knowledge that multiple alternate sources were available at the time of the contract.

(Kinna Aff., ¶6.; AIMS Brief for Sum. J., Ex. 6.) Plaintiffs' argue, however, that AIM S and

AIM, operating collectively, provided the only available opportunity for Plaintiffs' to

purchase all of the desired services from the same source and a source that also published a

paper yellow pages. Plaintiffs' distinction is unreasonable. All of the services Plaintiffs

desired could have been provided by numerous sources.1 Absolutely no facts have been

alleged or proved that would demonstrate an essential reason for having the electronic




       1
         Plaintiffs present the affidavit of a law clerk (G. Alan Wallace), which contains
hearsay evidence provided by an employee of Verizon Communications (Ed Fritz), who
formerly was employed with GTE Corporation before its merger with Bell Atlantic to form
Verizon in 2000. Fritz purportedly told Wallace that, from 1998 to late 2000, GTE Super
Pages had only one on-line yellow page competitor in Michigan: Ameritech. Further, Fritz
purportedly advised that GTE did not offer its web page design and registration services until
late 2000, and did not offer a link from its yellow pages until 2000. (G. Alan W allace Aff.,
¶¶ 3-9.) On a motion for summary judgment, the party opposing the motion has the burden
of introducing evidence sufficient to withstand the motion. F ED. R. C IV. P. 56(a). Rule
56(e) requires that affidavits used for summary judgment purposes be made on the basis of
personal knowledge, set forth admissible evidence, and show that the affiant is competent
to testify. Rule 56(e) further requires the party to attach sworn or certified copies of all
documents referred to in the affidavit. Id. Hearsay evidence cannot be considered on a
motion for summary judgment. See Carter v. Univ. of Toledo, 349 F.3d 269, 274 (6th Cir.
2003); Wiley v. U.S., 20 F.3d 222, 225-26 (6th Cir. 1990); Daily Press, Inc. v. United Press
Int'l, 412 F.2d 126, 133 (6th Cir. 1969).

                                             14
Case 5:05-cv-00102-RHB        ECF No. 31, PageID.572        Filed 02/08/06     Page 15 of 21




services provided by the same company as the paper services. Moreover, even were such a

basis demonstrated, the distinction would not show that Plaintiffs lacked reasonable

alternatives. The mere fact that a party may prefer the particular and specific features of a

service provided by one company does not render that company's service monopolistic or the

realistic alternative available. See, e.g., USAA Group, 405 N.W .2d at 147 ("We are not

aware of any limitations preventing the Muellers from obtaining a central monitoring

arrangement from another source or from obtaining some other protection system, such as

a noise-generating system or a sprinkler system.") (emphasis added). The case, therefore,

is completely distinguishable from the circumstances presented in Allen, 171 N.W.2d at 692-

93, in which there was no realistic alternative to yellow pages advertising through Michigan

Bell.

        Further, the Court rejects Plaintiffs' argument that they have shown that all

competitors included the same limited liability language. In support of their argument,

Plaintiffs rely on the deposition testimony of AIM employee, Beth Kinna. Contrary to

Plaintiffs' representations, however, Kinna did not testify that all other competitors had

similar clauses. She, in fact, denied having seen competitors' clauses, having been told about

their contents, or having known whether competitors' contracts differed from those of AIM

and AIMS. When asked to speculate, she began to answer with an equivocal word, but was

interrupted by an objection. (Kinna dep. at 71; Pl. Br. in Opp. to AIM Mot., Ex. L.) Even




                                             15
Case 5:05-cv-00102-RHB        ECF No. 31, PageID.573        Filed 02/08/06     Page 16 of 21




had she answered, such speculation would not have constituted admissible evidence about

the contents of competitor agreements.

       Plaintiffs next argue that, because they did not read the contract, they should be

excused from application of the limited liability provision.        While Plaintiffs do not

specifically claim that they were completely unaware of the numerous preprinted clauses on

the backs of the agreements they signed, they aver that the existence of the limited liability

clause was never pointed out to them by Defendants' representative. Under Michigan law,

"one who signs an agreement, in the absence of coercion, mistake, or fraud, is presumed to

know the nature of the document and to understand its contents, even if he or she has not

read the agreement." Clark, 706 N.W.2d at 475. Plaintiffs may not claim to be excused from

those portions of the contract they sign simply because they neglected to read them.

Moreover, the effect of one party's failure to read a provision may do nothing more than

prevent a contract from forming; it does not permit enforcement of alternate terms against

the other party:

       [T]he expectation that a contract will be enforceable other than according to
       its terms surely may not be said to be reasonable. If a person signs a contract
       without reading all of it or without understanding it, under some circumstances
       that person can avoid its obligations on the theory that there was no contract
       at all for there was no meeting of the minds. But to allow such a person to
       bind another to an obligation not covered by the contract as written because the
       first person thought the other was bound to such an obligation is neither
       reasonable nor just.

Wilkie v. Auto-Owners Ins. Co., 664 N.W.2d 776, 788 (Mich. 2003) (quoting Raska v. Farm

Bureau Mut. Ins. Co., 314 N.W.2d 440, 441 (Mich. 1982)); see also Rory, 703 N.W.2d at 42

                                             16
Case 5:05-cv-00102-RHB        ECF No. 31, PageID.574         Filed 02/08/06     Page 17 of 21




(same). Plaintiffs' argument, therefore, cannot support its claim for damages beyond those

provided in the limited liability clause.

       In sum, the evidence unequivocally shows that AIM and AIMS were not the sole

providers for the range of services purchased by Plaintiffs. In addition, the types of services

available through AIM and AIMS did not offer the only "realistic alternative" for Plaintiffs

to advertise their products. Allen, 171 N.W.2d at 694. Because Plaintiffs have failed to show

that Defendants had the sort of monopolistic power described in Allen, the case is controlled

by the reasoning of St. Paul Fire, 320 N.W.2d at 246-47. As a result, Plaintiffs fail to

demonstrate the necessary procedural unconscionability. 2

              2.      Substantive unconscionability

       Even had Plaintiffs demonstrated procedural unconscionability, their claims would

fail because they have failed to show substantive unconscionability. "Whether a contractual

provision is substantively unreasonable or unconscionable depends on the commercial



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         In support of their claim of both procedural and substantive unconscionability,
Plaintiffs also rely heavily on Jacada, Ltd. v. Int'l Mktg. Strategies, Inc., Nos. 1:02-CV-479,
1:02-CV-78 (W.D. Mich. Oct. 21, 2003), aff'd 401 F.3d 701 (6th Cir. 2005). In Jacada, this
Court upheld an arbitration award in which the arbitrator found a limited liability provision
to be unconscionable under Michigan law. The Court noted that its review was limited to
determining whether the arbitrator's decision was in "manifest disregard of the law." Id., slip
op. at 6 (quoting Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Jaros, 70 F.3d 418, 421 (6th
Cir. 1995)). The Court acknowledged that mere error in interpretation or application of the
law was insufficient. Applying that standard, the Court concluded that, while it might
disagree with the arbitrator's finding of unconscionability, it could not say that the finding
was entered in manifest disregard of the law. Id., slip op. at 12. In light of the highly
deferential standard of review involved in Jacada, the case is of limited applicability to the
question before the Court requiring de novo application of Michigan law.

                                              17
Case 5:05-cv-00102-RHB        ECF No. 31, PageID.575          Filed 02/08/06     Page 18 of 21




setting, purpose and effect of the provision." Mich. Ass'n of Psychotherapy Clinics, 301

N.W.2d at 41 (citing Reed v. Kaydon Eng'g Corp., 196 N.W.2d 487 (Mich. Ct. App. 1972)).

"Reasonableness is the primary consideration." St. Paul Fire, 320 N.W.2d at 247. However,

a contract is not substantively unconscionable simply because it is foolish for one party and

very advantageous to the other." Clark, 706 N.W.2d at 475. Instead, a provision is

substantively unreasonable "where the inequity of the term is so extreme as to shock the

conscience." Id.

       Plaintiffs have not and cannot demonstrate such conscience-shocking inequity. The

limited liability provision in the instant case permits Plaintiffs to recover the full amount of

their contract price of $1,600. That liquidated damage amount for the type of breach alleged

in this case is not shocking to the conscience. In addition, Plaintiffs already have received

a substantial extension of the term of their agreement on the grounds of the alleged breach.

Further, Plaintiffs do not dispute that Defendants completed all of the promises of the

contract, with the exception of the promise to register the web site with the major internet

search engines. Indeed, Plaintiffs acknowledge that, in addition to being able to contract

with other providers, Plaintiffs themselves could have registered their web site with the

internet search engines. Moreover, Plaintiffs have introduced no evidence to contradict Beth

Kinna's testimony that, even in 1998, if a web site were registered with a search engine, there

was no guarantee that the search engine would post it. (Kinna dep., at 56.; Pl. Brief Opp.

AIM Mot. for Sum. J., Ex. L.)



                                              18
Case 5:05-cv-00102-RHB         ECF No. 31, PageID.576         Filed 02/08/06     Page 19 of 21




       Here, as in St. Paul Fire, Defendants are "not in the insurance business." 320 N.W.2d

at 247. The contracts made it clear that Defendants did not promise particular results from

the web-based advertising they agreed to provide. "Under these circumstances a clause

limiting defendant's liability in the event the [web site] did not work properly is not

unconscionable." Id. (finding limitation of the aggregate of six monthly payments or $250

was manifestly reasonable); see also USAA Group, 405 N.W.2d at 147 (limitation of $250

not substantively unreasonable); WXON-TV, 740 F. Supp. at 1266 (limitation of six months'

payments or $250 not unreasonable). Under the clearly established case law, the limited

liability clause in the instant case was not substantively unconscionable.

       B.     Failure of Contract's Essential Purpose

       Plaintiffs next argue that the limited liability clause is unenforceable because it fails

of its essential purpose. They argue that the clause deprives Plaintiffs of the benefit of their

bargain, permitting Defendants to escape liability for a breach of their agreement.

       Under Michigan law, the failure-of-the-essential-purpose doctrine applies only to

matters falling under Article 2 of the Uniform Commercial Code ("UCC"), M ICH. C OMP.

L AWS § 440.2102. Article 2 of the UCC, however, applies only to transactions in goods, not

transactions for services. See Wells v. 10-X Mfg. Co., 609 F.2d 248, 254 (6th Cir. 1979);

DeValerio v. Vic Tanny Int'l, 363 N.W.2d 447 (Mich. Ct. App. 1984); Plymouth Pointe

Condo. Ass'n v. Delcor Homes-Plymouth Pointe, Ltd., No. 233847, 2003 WL 22439654, at




                                              19
Case 5:05-cv-00102-RHB         ECF No. 31, PageID.577           Filed 02/08/06     Page 20 of 21




*2 (Mich. Ct. App. Oct. 28, 2003). No M ichigan case has applied the doctrine to a services

contract.

       Plaintiffs rely exclusively on this Court's decision in Jacada, Nos. 1:02-CV-479 and

1:02-CV-78. In Jacada, the Court acknowledged that the failure-of-the-essential-purpose

doctrine was, by its terms, applicable only to Article 2 agreements. Jacada, slip. op. at

13-14. The Court, however, concluded that at least two federal courts had applied the

doctrine to a service contract or a hybrid contract involving both service and sale of goods.

As a result, while the Court expressed skepticism about the correctness of the arbitrator's

application of the doctrine to a services agreement, it could not conclude that such

application actually "fl[ew] in the face of clearly established legal precedent." Id. (quoting

Merrill Lynch, 70 F.3d at 421).

       In the instant case, however, the Court must apply the law de novo. The Court finds

no basis in the Michigan case law for extending the doctrine to cases outside the application

of Article 2. Instead, the doctrine of unconscionability more properly provides the vehicle

for determining whether the terms of a services contract are sufficiently one-sided as to

undermine the purpose of the agreement.

       Moreover, even were the Court to apply the doctrine to a service agreement, the

instant limited liability clause does not fail of its essential purpose. Instead, under the limited

remedy provided in the contract, Plaintiffs may recover a full refund for an alleged failure

to complete a small portion of the agreement that Plaintiffs themselves were fully capable



                                                20
Case 5:05-cv-00102-RHB         ECF No. 31, PageID.578         Filed 02/08/06      Page 21 of 21




of rectifying with little effort. See WXON-TV, 740 F. Supp. at 1266-67 (considering whether

a limitation of remedies clause failed of its essential purpose when it permitted a party to

recover a refund or receive a credit in the amount paid). While Plaintiffs attempt to

characterize the alleged breach as a complete failure to perform, they do not dispute that they

received a registered domain name, web site and page design, e-mail addresses, a link from

their internet yellow page listing to the web site, and virtual hosting. Registration with search

engines, even if completed, would not have guaranteed inclusion by search companies in

search results, and the failure to register did not render the web site and e-mail contacts

useless. As a result, the damages permitted under the contract clearly are sufficient to create

a binding, mutual contract and prevent Defendants from escaping all liability for their alleged

negligence. Id.

                                              IV.

        For the foregoing reasons, the Court will grant Defendants' motions for summary

judgment. A judgment consistent with this opinion shall be entered.




Date:     February 8, 2006                  /s/ Robert Holmes Bell
                                            ROBERT HOLM ES BELL
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                               21
